     Case 2:20-cv-00211-GMN-NJK Document 49 Filed 11/29/21 Page 1 of 1



 1

 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10

11    RICARDO QUINTANILLA,                              Case No. 2:20-cv-00211-GMN-NJK
12                       Petitioner,                    ORDER
13           v.
14    BRIAN WILLIAMS, et al.,
15                       Respondents.
16

17          Respondents having filed an unopposed motion for enlargement of time (first request)

18   (ECF No. 48), and good cause appearing;

19          IT THEREFORE IS ORDERED that respondents' unopposed motion for enlargement of

20   time (first request) (ECF No. 48) is GRANTED. Respondents will have up to and including

21   January 6, 2022, to file a reply to the opposition to the motion to dismiss.

22          DATED: December 29, 2021
23                                                                 ______________________________
                                                                   GLORIA M. NAVARRO
24                                                                 United States District Judge
25

26
27

28
                                                        1
